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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                               JACKSONVILLE DIVISION

ROSE WHITFIELD,

       Plaintiff,                             CASE NO.: 3:17-CV-01381-TJC-MCR

-vs-

GENESIS BANKCARD SERVICES, INC.,

       Defendant.
                                  /

                    JOINT STIPULATION OF DISMISSAL WITH PREJUDICE


       COMES NOW the Plaintiff, Rose Whitfield, and the Defendant, Genesis

Bankcard Services, Inc., and pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), hereby stipulate

to dismiss, with prejudice, each claim and count therein asserted by Plaintiff against the

Defendant in the above styled action, with Plaintiff and Defendant to bear their own

attorney’s fees, costs and expenses.

Respectfully submitted this 17th day of May, 2018.



 /s/ Octavio Gomez                             /s/ Ashley N. Rector
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